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     Federal Defender
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5
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     MICHELLE ERNESTINA LUCERO
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8
                                             UNITED STATES DISTRICT COURT
9
                                            EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                           No. Cr. S 10-162 JAM
12
                               Plaintiff,                STIPULATED MOTION AND ORDER TO
13                                                       REDUCE SENTENCE PURSUANT TO 18
               v.                                        U.S.C. § 3582(c)(2)
14
     MICHELLE ERNESTINA LUCERO,                          RETROACTIVE DRUGS-MINUS-TWO
15                                                       REDUCTION CASE
                               Defendant.
16                                                       Judge: Honorable JOHN A. MENDEZ

17
               Defendant, MICHELLE ERNESTINA LUCERO, by and through her attorney, Assistant
18
     Federal Defender David M. Porter, and plaintiff, UNITED STATES OF AMERICA, by and
19
     through its counsel, Assistant U.S. Attorney Jason Hitt, hereby stipulate as follows:
20
               1.         Pursuant to 18 U.S.C. § 3582(c)(2), this Court may reduce the term of
21
     imprisonment in the case of a defendant who has been sentenced to a term of imprisonment
22
     based on a sentencing range that has subsequently been lowered by the Sentencing Commission
23
     pursuant to 28 U.S.C. § 994(o);
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               2.         On February 18, 2014, this Court sentenced Ms. Lucero to a term of 37 months
25
     imprisonment;
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               3.         Her total offense level was 21, her criminal history category was I, and the
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     resulting guideline range was 37-46 months;
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     Stipulation and Order Re: Sentence Reduction          1
       Case 2:10-cr-00162-DAD Document 305 Filed 03/02/15 Page 2 of 3



1              4.         The sentencing range applicable to Ms. Lucero was subsequently lowered by the
2    United States Sentencing Commission in Amendment 782, made retroactive on July 18, 2014,
3    see 79 Fed. Reg. 44,973;
4              5.         Ms. Lucero’s total offense level has been reduced from 21 to 19, her amended
5    guideline range is 30 to 37 months; and,
6              6.         Accordingly, the parties request the Court enter the order lodged herewith
7    reducing Ms. Lucero’s term of imprisonment to a total term of 30 months.
8    Respectfully submitted,
9    Dated: February 25, 2015                           Dated: February 25, 2015
10   BENJAMIN B. WAGNER                                 HEATHER E. WILLIAMS
     United States Attorney                             Federal Defender
11
12    /s/ Jason Hitt                                    /s/ David M. Porter
     JASON HITT                                         DAVID M. PORTER
13   Assistant U.S. Attorney                            Assistant Federal Defender
14   Attorney for Plaintiff                             Attorney for Defendant
     UNITED STATES OF AMERICA                           MICHELLE ERNESTINA LUCERO
15
16
                                                       ORDER
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               This matter came before the Court on the stipulated motion of the defendant for reduction
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     of sentence pursuant to 18 U.S.C. § 3582(c)(2).
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               The parties agree, and the Court finds, that Ms. Lucero is entitled to the benefit
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     Amendment 782, which reduces the total offense level from 21 to 19, resulting in an amended
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     guideline range of 30 to 37 months.
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               IT IS HEREBY ORDERED that the term of imprisonment imposed on February 18, 2014
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     is reduced to a term of 30 months.
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               IT IS FURTHER ORDERED that all other terms and provisions of the original judgment
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     remain in effect. The clerk shall forthwith prepare an amended judgment reflecting the above
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     reduction in sentence, and shall serve certified copies of the amended judgment on the United
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     States Bureau of Prisons and the United States Probation Office.
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     Stipulation and Order Re: Sentence Reduction          2
       Case 2:10-cr-00162-DAD Document 305 Filed 03/02/15 Page 3 of 3



1              Unless otherwise ordered, Ms. Lucero shall report to the United States Probation Office
2    within seventy-two hours after her release.
3    Dated: February 27, 2015
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                                                    /s/ John A. Mendez________________
5                                                   HONORABLE JOHN A. MENDEZ
                                                    United States District Court Judge
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     Stipulation and Order Re: Sentence Reduction            3
